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                                                                               E-FILED
                                                Wednesday, 02 October, 2013 02:10:43 PM
                                                           Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )
                                          )
           v.                             )      No. 99-30091
                                          )
LES L. DAVIS,                             )
                                          )
                 Defendant.               )

                                 OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     This matter comes before the Court on Defendant Les L. Davis’s

Motion for Retroactive Application of Sentencing Guidelines to Crack

Cocaine Offense (d/e 306). The Motion is DISMISSED for lack of

subject matter jurisdiction.

                               I. BACKGROUND

     In July 2000, a jury found Defendant guilty of conspiracy with

intent to distribute cocaine base (crack cocaine) (Count 1), possession of

crack cocaine with intent to distribute (Count 6), and possession of

powder cocaine with intent to distribute (Count 11). The probation
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officer, using the November 1, 2000 Guidelines Manual, found

Defendant responsible for 1,221.3 grams of crack cocaine and 1,052.76

grams of powder cocaine, which equated to 24,636.55 grams of

marijuana. As a result, Defendant’s base offense level was 36. U.S.S.G. §

2D1.1(c)(2). After a two-level enhancement for possession of firearms

during the course of the conspiracy (U.S.S.G. § 2D1.1(b)(1)),

Defendant’s total offense level was 38. With a Criminal History

Category of IV, Defendant’s Advisory Guideline Range was 324 to 405

months’ imprisonment. Defendant was also subject to a 20-year

mandatory minimum sentence on Count 1. See PSR ¶ 121, citing 21

U.S.C. § 841(b)(1)(A). In February 2001, United States District Judge

Jeanne E. Scott sentenced Defendant to 30 years’ imprisonment.

     In April 2008, Defendant filed a motion to reduce sentence in light

of the retroactive Amendment in the Guidelines range for crack cocaine

offenses. See Amendment 706, made retroactive by Amendment 711. In

light of the Amendment, Defendant’s base offense level was 34. After

adjustments, Defendant’s total offense level was 36. With a total offense



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level of 36 and a Criminal History Category of IV, Defendant’s new

Advisory Guideline Range was 262 to 327 months’ imprisonment.

     In October 2008, Judge Scott granted Defendant’s Motion and

reduced Defendant’s sentence to 275 months’ imprisonment. See

October 17, 2008 Text Order.

     In May 2013, Defendant filed a letter requesting the appointment

of counsel to assist him with seeking a reduced sentence under the Fair

Sentencing Act. See d/e 306. The Court treated the letter as a Motion

for Retroactive Application of Sentencing Guidelines to Crack Cocaine

Offense and appointed the Federal Public Defender to represent him.

See May 20, 2013 Text Order.

     In August 2013, appointed counsel filed a Motion to Withdraw as

Counsel on the grounds that (1) Defendant’s sentencing range is the

same as it was in 2008 when his sentence was reduced, and (2) the Fair

Sentencing Act of 2010 does not apply to Defendant. See d/e 309. The

Court granted counsel’s Motion to Withdraw as Counsel. The Court

indicated that Defendant could proceed pro se in requesting a reduced



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sentence and gave Defendant until September 16, 2013 to file a

supplement to the request for a reduced sentence. Defendant has not

filed a supplement.

                               II. ANALYSIS

     “District courts have limited power to revisit sentences once they

are imposed.” United States v. Goode, 342 F.3d 741, 743 (7th Cir.

2003). Section 3582(c)(2) of the United States Code allows a court to

reduce a previously imposed sentence (1) where the defendant was

sentenced “to a term of imprisonment based on a sentencing range that

has subsequently been lowered by the Sentencing Commission” and (2)

“such a reduction is consistent with applicable policy statements issued

by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). If the

defendant cannot satisfy the first criterion, the court lacks subject matter

jurisdiction to consider the reduction request. United States v. Forman,

553 F.3d 585, 588 (7th Cir. 2009).

     The Fair Sentencing Act of 2010, amending 21 U.S.C. § 841(b)(1),

reduced the disparity between sentences involving crack and powder



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cocaine by raising the amounts of crack cocaine mandating minimum

prison sentences. See Pub. L. No. 111-220, 124 Stat. 2372; see also 21

U.S.C. § 841(b)(1); Dorsey v. United States, 132 S. Ct. 2321, 2326

(2012). The Act also required the United States Sentencing Commission

to amend Federal Sentencing Guidelines “‘to achieve consistency with

other guideline provisions and applicable law.’” Dorsey, 132 S. Ct. at

2329, quoting Pub. L. No. 111-220 at § 8(2), 124 Stat. 2374.

     The Sentencing Commission amended the Sentencing Guidelines

by reducing the Sentencing Guideline ranges for certain federal crack

cocaine offenders. See Amendment 750. Effective November 1, 2011,

the Sentencing Commission made those amended sentencing guidelines

apply retroactively. See U.S.S.G. § 1B1.10(a), (c) (providing that a court

may reduce the sentence of a defendant serving a sentence of

imprisonment where the Sentencing Guideline range was lowered as a

result of Amendment 750); see also Amendment 759. “Stated generally,

the practical effect of the Sentencing Commission's actions is that certain

federal defendants convicted of offenses involving crack cocaine may be



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eligible for a reduction in their current sentences, pursuant to 18 U.S.C. §

3582(c)(2).” United States v. Turner, 2011 WL 4704277, at*1

(W.D.Va. 2011).

     For two reasons, this Court lacks subject matter jurisdiction to

consider Defendant’s reduction request. First, Defendant’s Advisory

Guideline Range is the same now as it was in 2008 when his sentence

was last reduced. Under the 2012 Sentencing Guideline Manual,

1,052.76 grams of powder cocaine and 1,221.3 grams of crack cocaine

convert to 4,571.8143 kilograms of marijuana. See U.S.S.G. § 2D1.1,

Commentary Note 8(B), (D). This amount of marijuana results in a base

offense level of 34, the same base offense level that applied in 2008. See

U.S.S.G. § 2D1.1(c) (Drug Quantity Table).

     Because the most recent amendment, Amendment 750, did not

change Defendant’s sentencing guideline range, he is not entitled to a

reduction in his sentence. 18 U.S.C. § 3582(c); U.S.S.G. § 1B1.10,

Commentary Note 1(A); United States v. Taylor, 627 F.3d 674, 676 (7th

Cir. 2010) (relief under §3582(c) “is not available when a retroactive



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amendment ‘does not have the effect of lowering the defendant’s

applicable guideline range”), quoting U.S.S.G. § 1B1.10(a)(2)(B).

     Second, the Fair Sentencing Act does not provide a basis for

reducing Defendant’s sentence. The Fair Sentencing Act does not apply

retroactively to defendants who committed the offense and were

sentenced prior to the enactment of the Fair Sentencing Act. See United

States v. Robinson, 697 F.3d 443, 445 (7th Cir. 2012) (“The Act’s lower

mandatory minimums do not apply to offenders . . . sentenced before its

effective date”); cf. Dorsey, 132 S.Ct. at 2335 (“Congress intended the

Fair Sentencing Act’s new, lower mandatory minimums to apply to the

post-Act sentencing of pre-Act offenders”). Defendant was sentenced in

2001, more than nine years before the effective date of the Fair

Sentencing Act. See Dorsey, 132 S.Ct. at 2326 (noting that Fair

Sentencing Act took effect on August 3, 2010).




                           III. CONCLUSION

     For the reasons stated, Defendant’s Motion for Retroactive



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Application of Sentencing Guidelines to Crack Cocaine Offense (d/e 306)

is DISMISSED for lack of subject matter jurisdiction.

ENTER: October 2, 2013

FOR THE COURT:

                                        s/ Sue E. Myerscough
                                       SUE E. MYERSCOUGH
                                  UNITED STATES DISTRICT JUDGE




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